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                EXHIBIT 55

                REDACTED
        Case: 1:17-md-02804-DAP Doc #: 2379-5 Filed: 08/14/19 2 of 3. PageID #: 390115



         To:         Melton, Jenny(Jenny. Melton@McKesson.com]
         From:       Walker, Donald
         Sent        Thur 1/22/2009 7:56:43 PM
         Subject:    RE: IMPORTANT - Call from DEA on Suspicious Trans Rpt


         I will handle

         Don




            From: Melton, Jenny
           Sent: Thursday, January 22, 2009 11:38 AM
           To: Walker, Donald
           Cc: McIntyre, Keith; Pacheco, Sheila; Melton, Jenny
           Subject: IMPORTANT - Call from DEA on Suspicious Trans Rpt
           Importance: High


           Don - I received a voice mail from DEA today. They received paper suspicious transaction reports
           (DU45) from St. Louis and Birmingham and are questioning why we are still sending paper reports.
           It appears that they believe these are the agreed upon new reports. The last direction we received
           was to not discontinue the DU45 report yet so the report is still being produced. As you may recall,
           we had a similar incident with Conroe last year. Keith is working with BTS to change the name of
           DU45 to eliminate the Suspicious Transaction verbiage. The verbiage changes will be effective 2/1.
           I am not sure how these reports got to Washington. Perhaps the DRAs can follow up to determine
           how the reports were sent and to review our SOPs.




           I am on PTO the rest of the week and currently in the Denver airport but will check e-mail when I
           land this evening. I will need to call DEA back either today or tomorrow.




            Please provide guidance.




           thanks - - jenny




           Jenny Melton

           McKesson Corporation

           Director of Business Projects

            Warehouse Management Solutions




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          -                    Telephone

          -                    Cell Phone

           Jenny.Melton@McKesson.com



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